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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    BERKELEY VENTURES II, LLC,

         Plaintiff
                                                 Civil Action No.
    v.                                           1:19-cv-05523-VMC

    SIONIC MOBILE CORPORATION
    and RONALD D. HERMAN,

         Defendants.

                                     ORDER

         This matter is before the Court on Jason Brian Godwin’s Motion to Compel

Payment of Settlement Funds into the Registry of the Court filed on April 28, 2022

(“Motion,” Doc. 245). Plaintiff Berkeley Ventures II, LLC (“Berkeley”) filed a

response on April 29, 2022. (“Response,” Doc. 248). 1

         The Court held a telephonic conference on the Motion on May 2, 2022 at

10:00 a.m. (“Conference”). (Minutes of May 2, 2022 Hrg. (“Minutes”), Doc. 249). In

the Order and Notice setting the Conference, the Court requested that Mr. Godwin

provide certain documents to chambers, including copies of Mr. Godwin’s




1 The Response was filed by Mr. Godwin’s co-counsel Wilmer Parker, who has
submitted the filing “as counsel of record for Plaintiff in the present action,” but
stated that “Plaintiff is represented by separate counsel with respect to the fee
arbitration.” (Response at 3 n.1, Doc. 248).
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engagement letter with Plaintiff. Those purported engagement letters have been

appended to the Court’s Minutes. (Docs 249-1, 249-2).

                                BACKGROUND

      Plaintiff Berkeley filed this securities fraud case against Defendants Sionic

Mobile Corporation (“Sionic”) and Ronald D. Herman (collectively, “Defendants”)

on December 7, 2019. (Doc. 1.) Berkeley’s original counsel was Busch Slipakoff

Mills & Slomka LLC (“Busch Slipakoff”). Defendants filed an initial Motion to

Disqualify Busch Slipakoff on January 20, 2022, which the Court denied on

September 2, 2020 (Docs. 9, 39). Defendants renewed their Motion to Disqualify on

November 5, 2020 based on pre-litigation representation of Defendant Sionic and

a member of its board of directors by Busch Slipakoff as well as post-litigation

communications with represented parties. (Doc. 51). The Court granted that

renewed motion on December 11, 2020. (Doc. 65).

      Mr. Godwin signed an engagement letter dated January 2, 2021 with

Berkeley (“First Letter,” Doc. 249-1) and later filed a notice of appearance in this

case on behalf of Berkeley on January 8, 2021 (Doc. 66). The First Letter provided

for a 33% contingency fee, of which a pro rata percentage would be paid to former

counsel Bryan Busch. The First Letter also included an arbitration provision for

disputes under the First Letter referring such disputes to the “Georgia Bar’s Fee

Arbitration program on behalf of the Georgia Supreme Court.”


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      Mr. Godwin stated on the telephonic conference that upon realizing that he

was prohibited from sharing his fees with a disqualified attorney, he sought to

amend the engagement letter to adjust the contingency fee to 20% and to remove

Mr. Busch from any fee splitting.

      Berkeley attached a copy of a revised engagement letter dated August 20,

2021 to its Response (“Second Letter,” Doc. 248 at 10 of 11). There is some dispute

as to whether the Second Letter was signed by all parties. The Second Letter, in

addition to adjusting the contingency fee to 20%, provides for a “courtesy

discount” of $75,000. Like the First Letter, it also contains an arbitration clause

providing for disputes to be resolved through the State Bar’s fee arbitration

program.

                                    DISCUSSION

      In the Motion, Mr. Godwin alleges he has “recently completed settlement

negotiations.” (Doc. 245 at 1). At the Conference, all parties appeared to agree that

this matter has been substantially settled with only minor negotiations over the

forms of the settlement documents remaining. However, Mr. Godwin alleges that

Berkeley is working behind his back to consummate the settlement without him

to avoid paying his 20% contingency fee. Mr. Godwin filed the instant motion

requesting that the settlement funds be paid into the registry of the Court pending

a hearing to determine the proper disbursement of the funds under Georgia law.


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      Berkeley asserts that the dispute between Mr. Godwin and it are arbitrable

under the terms of the engagement letters.2

      At the Conference, Defendants did not take a position in the dispute

between Mr. Godwin and Berkeley and did not object to paying funds into the

Court’s registry.

      For the reasons the Court gave on the record at the Conference, and based

upon the lack of opposition by Defendants to paying some portion of the

settlement consideration into the Court’s registry it is

      ORDERED that the Motion (Doc. 245) is GRANTED IN PART and

DENIED IN PART as set forth in this Order.

      It is ORDERED that the Parties are DIRECTED to file, by May 9, 2022, (1) a

Notice of Execution of Settlement Documents, or (2) a Joint Status Report detailing

the progress of documenting the Parties’ settlement and expected timeline for

filing a Notice of Execution of Settlement Documents.

      It is FURTHER ORDERED that upon final execution of settlement

documents, Defendants shall deposit with the Court 20% of any monetary amount

stipulated to be paid to Berkeley as settlement consideration prior to disbursing



2 There is apparently some dispute as to whether a fee arbitration has been
commenced. This has no basis on the Court’s decision, as the Court finds that the
dispute in question is covered by the terms of both the First Letter and the Second
Letter.
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any funds to Berkeley. Payment of this amount into the Court’s registry together

with paying the remaining 80% to Berkeley shall be in satisfaction of Defendants’

obligation to pay such stipulated monetary settlement consideration to Berkeley.

      It is ORDERED that, if it has not already, Plaintiff Berkeley is DIRECTED

to commence an arbitration with Georgia Bar’s Fee Arbitration program on behalf

of the Georgia Supreme Court within 30 days of the date of entry of this Order.

      The Clerk is DIRECTED to submit this matter to the undersigned on May

10, 2022.

                      2nd day of _____,
      SO ORDERED this ___        May 2022.



                                           _______________________________
                                           Victoria Marie Calvert
                                           United States District Judge




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